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Entered: June 4th, 2025
Signed: June 3rd, 2025

SO ORDERED




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MARYLAND
                                             Greenbelt Division

           In re                                               Case No. 24-13609

           Smokecraft Clarendon, LLC                           Chapter 11

                 Debtor.
           ____________________________________/

                                   ORDER GRANTING MOTION TO VALUE
                          SECURED CLAIM OF CAPITAL BANK, NATIONAL ASSOCIATION
                   Upon consideration of the Motion to Value Secured Claim of Capital Bank, National

         Association (the “Motion”) filed by Smokecraft Clarendon, LLC (the “Debtor”), the opposition of

         Capital Bank National Association (“Capital Bank”) thereto, the arguments set forth therein, the

         record herein, the stipulation of the parties, evidence and arguments adduced at a hearing thereupon

         on April 22, 2025, and applicable law, it is, by the United States Bankruptcy Court for the District

         of Maryland, hereby:

                   ORDERED, that the Motion be, and hereby is, GRANTED; and it is further

                   FOUND, that the assets of the Debtor securing the claim of Capital Bank, National

         Association (“Capital Bank”) have a fair market value of $104,500.00; and it is further


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        ORDERED, that, pursuant to Section 506 of Title 11 of the United States Code, the secured

claim of Capital Bank in this case shall be for the sum certain of $104,500.00, with the remainder

of the claim of Capital Bank being unsecured.




I ask for this:

/s/ Maurice B. VerStandig
Maurice B. VerStandig, Esq.
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Seen and Agreed:

/s/ Catherin Keller Hopkin (signed w/ express permission)
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Copies:

All Counsel of Record




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